       Case 4:04-cr-00281-JLH          Document 132         Filed 03/20/06       Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                    No. 4:04CR00281 JLH

NELSON MILLER; BERTRAM CASE MILLER;
MICHAEL DORSEY; and MELISSA HORNER                                                   DEFENDANTS


                                              ORDER

       All of the defendants except Michael Dorsey have filed motions for severance. Bertram Case

Miller’s motion for severance was previously granted. The government moved to consolidate

Bertram Case Miller with the other defendants, and that motion was summarily denied. Now, the

government has filed a motion to reconsider the denial of its previous motion to consolidate Bertram

Case Miller with the other defendants. The Court has heard from Bertram Case Miller, Melissa

Horner, and Nelson Miller, as well as the government, in three separate in camera hearings. The

Court has reviewed all of the briefs and arguments that have been submitted on the severance issues

in light of the information presented in the in camera hearings.

       The Eighth Circuit summarized the law pertaining to severance of criminal defendants for

trial in United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006):

       Where two or more defendants have been charged in the same indictment, there is a
       preference for a joint trial unless the benefits are outweighed by a clear likelihood of
       prejudice. Zafiro v. United States, 506 U.S. 534, 537, 113 S. Ct. 933, 122 L. Ed. 2d
       317 (1993). Prejudice can be demonstrated by showing that the jury will be unable
       to compartmentalize the evidence as it relates to the separate defendants because of
       a “prejudicial spillover effect.” United States v. Mickelson, 378 F.3d 810, 817 (8th
       Cir. 2004); United States v. Lueth, 807 F.2d 719, 731 (8th Cir. 1986). The burden
       of showing a clear likelihood of prejudice falls on the party seeking severance.
       United States v. Frazier, 280 F.3d 835, 844 (8th Cir. 2002).
       Case 4:04-cr-00281-JLH           Document 132          Filed 03/20/06       Page 2 of 3




       Trying codefendants together not only conserves scarce time and resources, but also
       “gives the jury the best perspective on all of the evidence and therefore increases the
       likelihood of a correct outcome.” [United States v. Darden, 70 F.3d 1507, 1528 (8th
       Cir. 1995)] (internal quotations omitted). Severance is never warranted simply
       because the evidence against one defendant is more damaging than that against
       another, United States v. Pecina, 956 F.2d 186, 188 (8th Cir. 1992), even if the
       likelihood of the latter’s acquittal is thereby decreased. See United States v. Gravatt,
       280 F.3d 1189, 1191 (8th Cir. 2002). What is required for a severance is a specific
       showing that a jury could not reasonably be expected to compartmentalize the
       evidence. Lueth, 807 F.2d at 731.

       In Zafiro v. United States, 506 U.S. 534, 539, 113 S. Ct. 933, 938, 122 L. Ed. 2d 317 (1993),

the Court stated:

       We believe that, when defendants properly have been joined under Rule 8(b), a
       district court should grant a severance under Rule 14 only if there is a serious risk
       that a joint trial would compromise a specific trial right of one of te defendants, or
       prevent the jury from making a reliable judgment about guilt or innocence. Such a
       risk might occur when evidence that the jury should not consider against a defendant
       and that would not be admissible if a defendant were tried alone is admitted against
       a codefendant. For example, evidence of a codefendant’s wrongdoing in some
       circumstances erroneously could lead a jury to conclude that a defendant was guilty.
       When many defendants are tried together in a complex case and they have markedly
       different degrees of culpability, this risk of prejudice is heightened. [Citation
       omitted.] Evidence that is probative of a defendant’s guilt but technically admissible
       only against a codefendant also might present a risk of prejudice. [Citation omitted.]
       Conversely, a defendant might suffer prejudice if the central exculpatory evidence
       that would be available to a defendant tried alone were unavailable in a joint trial.
       [Citations omitted.] The risk of prejudice will vary with the facts in each case, and
       the district court may find prejudice in situations not discussed here. When the risk
       of prejudice is high, a district court is more likely to determine that separate trials are
       necessary . . ..

       Following the standards articulated by the Eighth Circuit in Hively and the Supreme Court

in Zafiro, this Court is convinced, in light of the information presented in camera, that the risk of

prejudice from trying all four defendants together is very high, and that specific trial rights would

be jeopardized. On the other hand, following these standards, the Court is not convinced that all four




                                                   2
       Case 4:04-cr-00281-JLH         Document 132        Filed 03/20/06     Page 3 of 3




defendants must be tried separately, which would happen if all of the motions for severance were

granted.

       Based on all of these considerations, the Court has determined that Michael Dorsey and

Melissa Horner will be tried together beginning on July 24, 2006. Nelson Miller and Bertram Case

Miller will be tried together beginning on August 28, 2006. In the trial of Michael Dorsey and

Melissa Horner, Michael Dorsey will precede Melissa Horner in voir dire, opening statement,

examination of the government’s witnesses, presentation of his defense, and closing argument;

provided, however, that defense counsel may agree on a different order of cross-examination of any

government witness. In the trial of Nelson Miller and Bertram Case Miller, Nelson Miller will

precede Bertram Case Miller in voir dire, opening statement, examination of the government’s

witnesses, presentation of his defense, and closing argument; provided, however, that defense

counsel may agree on a different order of cross-examination of any government witness.

       The motion to sever (Documents #102 and #116) and the motion for reconsideration

(Document #101) are granted in part and denied in part.

       IT IS SO ORDERED this 20th day of March, 2006.




                                             J. LEON HOLMES
                                             UNITED STATES DISTRICT JUDGE




                                                3
